Case 1:14-cv-09401-PGG-AJP Documen

 

 

 

USDC SDNY
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UNITED STATES DISTRICT COURT DOC #:
SOUTHERN DISTRICT OF NEW YORK DATE FILED: | (3) [ik
BLACKROCK CORE BOND
PORTFOLIO, et al., ORDER
Plaintiffs, 14 Civ. 9401 (PGG)
-against-

ULS. BANK NATIONAL ASSOCIATION,

Defendant.

 

 

PAUL G. GARDEPHE, U.S.D.J.:

For the reasons stated in open court on January 31, 2018, Plaintiffs’ Renewed
Motion for Class Certification (Dkt. No. 218) is denied. Defendant’s motion for leave to file the
Sur-Reply Expert Report of Christopher M. James concerning Plaintiffs’ Renewed Motion for
Class Certification (Dkt. No. 243) is denied as moot. The Clerk of the Court is directed to
terminate the motions (Dkt. Nos. 218, 243),

Dated: New York, New York
January 31, 2018

SO ORDERED,
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Paul G. Gardephe “
United States District Judge

 
